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              Order
 The Court appreciates this
 update from the Legal Aid
 Center of Southern Nevada.
 However, the Court is
 unaware of any deadline for
 pro bono counsel to appear
 on behalf of Mr. Welch. As
 such, the Court will deny
 ECF No. 152.
       IT IS SO ORDERED
       DATED: 11:34 am, October 18, 2021



       BRENDA WEKSLER
       UNITED STATES MAGISTRATE JUDGE
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